                       Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 1 of 21 Page ID #:660



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                11                            UNITED STATES DISTRICT COURT
                12                           CENTRAL DISTRICT OF CALIFORNIA
                13       TAI HANG and ROBERT                   )   CLASS ACTION
                         CANALES, on behalf of                 )
                14       themselves and all others similarly   )   Case No.: 5:21-cv-00287-JWH-KK
                         situated,                             )
                15                                             )   PLAINTIFF’S NOTICE OF NEW
                               Plaintiffs,                     )   AUTHORITY IN SUPPORT OF HIS
                16                                             )   OPPOSITION TO DEFENDANT’S
                               v.                              )   MOTION TO DISMISS THIRD
                17                                             )   AMENDED COMPLAINT
                         OLD DOMINION FREIGHT                  )
                18       LINE, INC., a Virginia                )   Honorable John W. Holcomb
                         corporation; and DOES 1 to 100,       )   Courtroom 2
                19       inclusive,                            )
                                                               )   Hearing: October 1, 2021
                20             Defendants.                     )   Time: 9:00 a.m.
                                                               )
                21                                             )   Action filed: November 6, 2020
                                                               )   Trial Date: None Set
                22                                             )
                23      ///
                24      ///
                25      ///
                26

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                       Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 2 of 21 Page ID #:661



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                       Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 3 of 21 Page ID #:662



                   1    TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
                   2          PLEASE TAKE NOTICE that Plaintiff submits this Notice of New
                   3    Authority regarding Naranjo v. Spectrum Sec. Servs., Inc., No. S258966, -- P.3d --,
                   4    2022 WL 1613499, at *1 (Cal. May 23, 2022), attached hereto as Exhibit 1.
                   5          This new authority directly relates to Plaintiff’s Opposition to Defendant’s
                   6    Motion to Dismiss Third Amended Complaint.
                   7          Specifically, Naranjo held that a claim for failure to provide meal periods
                   8    supports claims under Labor Code § 203 (waiting time penalties) and Labor Code
                   9    § 226 (inaccurate wage statements).
                10            Plaintiff respectfully submits this relevant authority, which was issued after
                11      briefing on the subject motion, to assist the Court in determining whether to deny
                12      Defendant’s Motion to Dismiss Third Amended Complaint.
                13      Dated: May 24, 2022                    LAW OFFICES OF KEVIN T. BARNES
                14                                             By:   /s/ Kevin T. Barnes
                                                                     Kevin T. Barnes, Esq.
                15                                                   Gregg Lander, Esq.
                                                                     Attorneys for Plaintiffs
                16

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Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 4 of 21 Page ID #:663




                  Exhibit 1
 Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 5 of 21 Page ID #:664
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


                                                                 *1 California law requires employers to provide daily meal
                   2022 WL 1613499                              and rest breaks to most unsalaried employees. If an employer
      Only the Westlaw citation is currently available.         unlawfully makes an employee work during all or part of
               Supreme Court of California.                     a meal or rest period, the employer must pay the employee
                                                                an additional hour of pay. (Lab. Code, § 226.7, subd. (c);
   Gustavo NARANJO et al., Plaintiffs and Appellants,           Industrial Welf. Com. wage order No. 4-2001, §§ 11(B),
                         v.                                     12(B).) The primary issue before us is whether this extra pay
         SPECTRUM SECURITY SERVICES,                            for missed breaks constitutes “wages” that must be reported
                                                                on statutorily required wage statements during employment
            INC., Defendant and Appellant.
                                                                (Lab. Code, § 226) and paid within statutory deadlines when
                         S258966                                an employee leaves the job (id., § 203). We conclude, contrary
                             |                                  to the Court of Appeal, that the answer is yes. Although
                        May 23, 2022                            the extra pay is designed to compensate for the unlawful
                                                                deprivation of a guaranteed break, it also compensates for the
Second Appellate District, Division Four, B256232, Los          work the employee performed during the break period. (See
Angeles County Superior Court, BC372146, John A.                Murphy v. Kenneth Cole Productions, Inc. (2007) 40 Cal.4th
Kronstadt and Barbara Marie Scheper, Judges                     1094, 1104, 56 Cal.Rptr.3d 880, 155 P.3d 284.) The extra
                                                                pay thus constitutes wages subject to the same timing and
Attorneys and Law Firms
                                                                reporting rules as other forms of compensation for work.
Rosen Marsili Rapp; Posner & Rosen, Howard Z. Rosen,
Jason C. Marsili, Los Angeles, Brianna Primozic Rapp and        We also resolve a dispute over the rate of prejudgment interest
Amanda Pitrof for Plaintiffs and Appellants.                    that applies to amounts due for failure to provide meal and
                                                                rest breaks. Here, we agree with the Court of Appeal that the 7
Ehlert Hicks and Allison L. Ehlert for California Employment    percent default rate set by the state Constitution applies. (See
Lawyers Association as Amicus Curiae on behalf of Plaintiffs    Cal. Const., art. XV, § 1.)
and Appellants.

Cynthia L. Rice, Oakland, Verónica Meléndez; George
Warner, Carole Vigne; Capstone Law, Ryan H. Wu; Winifred                                       I.
Kao; Jesse Newmark; Miye Goishi; and Jora Trang for
                                                                Defendant Spectrum Security Services, Inc., (Spectrum)
California Rural Legal Assistance Foundation, Legal Aid at
                                                                provides secure custodial services to federal agencies. The
Work, Bet Tzedek, Asian Americans for Advancing Justice
                                                                company transports and guards prisoners and detainees who
– Asian Law Caucus, Centro Legal de la Raza, UC Hastings
                                                                require outside medical attention or have other appointments
Community Justice Clinics and Worksafe as Amici Curiae on
                                                                outside custodial facilities. (Naranjo v. Spectrum Security
behalf of Plaintiffs and Appellants.
                                                                Services, Inc. (2009) 172 Cal.App.4th 654, 660, 91
Arbogast Law, David M. Arbogast; The Bronson Firm and           Cal.Rptr.3d 393 (Naranjo I).) Plaintiff Gustavo Naranjo was
Steven M. Bronson for Consumer Attorneys of California as       a guard for Spectrum. Naranjo was suspended and later fired
Amicus Curiae on behalf of Plaintiffs and Appellants.           after leaving his post to take a meal break, in violation
                                                                of a Spectrum policy that required custodial employees to
Carothers DiSante & Freudenberger, Dave Carothers, Robin        remain on duty during all meal breaks. (Naranjo v. Spectrum
E. Largent, Steven A. Micheli; Duane Morris and Paul J.         Security Services, Inc. (2019) 40 Cal.App.5th 444, 453–454,
Killion for Defendant and Appellant.                            253 Cal.Rptr.3d 248 (Naranjo II).)

Casey Raymond for Department of Industrial Relations,           Naranjo filed a putative class action on behalf of Spectrum
Division of Labor Standards Enforcement as Amicus Curiae.       employees, alleging that Spectrum had violated state meal
                                                                break requirements under the Labor Code and the applicable
Opinion
                                                                Industrial Welfare Commission (IWC) wage order. 1 (Lab.
Opinion of the Court by Kruger, J.                              Code, § 226.7; IWC wage order No. 4-2001, § 11.) 2 The
                                                                complaint sought an additional hour of pay — commonly


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 Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 6 of 21 Page ID #:665
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


referred to as “premium pay” — for each day on which               The court then considered the related wage statement
Spectrum failed to provide employees a legally compliant           and timely payment claims. The court concluded that
meal break. (See Lab. Code, § 226.7, subd. (c); IWC wage           the obligation to supply meal break premium pay also
order No. 4-2001, §§ 11(B), 12(B).)                                carried with it reporting and timing obligations. Whether
                                                                   Spectrum was monetarily liable for failure to abide by
 *2 Naranjo's complaint also alleged two Labor Code                those obligations depended on its state of mind: The
violations related to Spectrum's premium pay obligations.          wage statement statute authorizes damages and penalties
According to the complaint, Spectrum was required to report        only for “knowing and intentional” violations and excuses
the premium pay on employees’ wage statements (Lab. Code,          “isolated and unintentional payroll error due to a clerical or
§ 226) and timely provide the pay to employees upon their          inadvertent mistake” (Lab. Code, § 226, subd. (e)(1), (3)),
discharge or resignation (id., §§ 201, 202, 203), but had          while the timely payment statutes impose penalties only for
done neither. The complaint sought the damages and penalties       “willful[ ]” failures to make payment (id., § 203). The trial
prescribed by those statutes (id., §§ 203, subd. (a), 226, subd.   court concluded Spectrum's wage statement omissions were
(e)(1)) as well as prejudgment interest.                           intentional and awarded Labor Code section 226 penalties,
                                                                   but the failure to make timely payment was not willful and
The trial court initially granted summary judgment in favor        so Spectrum was not liable for section 203 penalties. The
of Spectrum on federal law grounds not relevant here, but the      trial court entered judgment for the plaintiff class on the meal
Court of Appeal reversed. (Naranjo I, supra, 172 Cal.App.4th       break and wage statement claims and awarded attorney fees
at pp. 663–669, 91 Cal.Rptr.3d 393.) On remand, the trial          and prejudgment interest at a rate of 10 percent.
court certified a class for the meal break and related timely
payment and wage statement claims and then held a trial in         Both sides appealed. The Court of Appeal affirmed in part
stages.                                                            and reversed in part. As relevant here, it affirmed the trial
                                                                   court's determination that Spectrum had violated the meal
The court first considered Spectrum's liability for meal           break laws during the period from June 2004 to September
break violations. Under the governing IWC wage order,              2007 (Naranjo II, supra, 40 Cal.App.5th at pp. 457–463,
an employer ordinarily must provide covered employees              253 Cal.Rptr.3d 248) but reversed the court's holding that
an off-duty meal period on shifts lasting longer than five         a failure to pay meal break premiums could support claims
hours. (IWC wage order No. 4-2001, § 11(A); see Brinker            under the wage statement and timely payment statutes (id. at
Restaurant Corp. v. Superior Court (2012) 53 Cal.4th               pp. 463–475, 253 Cal.Rptr.3d 248). It also ordered the rate of
1004, 1034–1035, 139 Cal.Rptr.3d 315, 273 P.3d 513.) An            prejudgment interest reduced from 10 to 7 percent. (Id. at pp.
exception to this requirement allows for “ ‘on duty’ ” meal        475–476, 253 Cal.Rptr.3d 248.)
periods if “the nature of the work prevents an employee
from being relieved of all duty,” but only when “by written         *3 As the Court of Appeal explained, whether the wage
agreement between the parties an on-the-job paid meal period       statement and timely payment statutes apply to missed-break
is agreed to.” (IWC wage order No. 4-2001, § 11(A); see            premium pay is a question that has generated confusion in
Brinker Restaurant Corp., at p. 1035, 139 Cal.Rptr.3d 315,         the Courts of Appeal as well as in federal courts. (Naranjo II,
273 P.3d 513.) Naranjo did not dispute that Spectrum had           supra, 40 Cal.App.5th at pp. 467–471, 253 Cal.Rptr.3d 248.)
always required on-duty meal periods as company policy             We granted review to consider the issue.
because of the nature of its guards’ work but argued that
Spectrum did not have a valid written on-duty meal break
agreement with its employees. Agreeing with Naranjo that
                                                                                                 II.
Spectrum had no valid agreement for part of the class period,
the court directed a verdict for the plaintiff class on the meal   California's meal and rest break requirements date back
break claim for the period from June 2004 to September 2007.       to 1916 and 1932, respectively, when the newly created
A jury found Spectrum not liable for the period beginning on       IWC included the requirements in a series of wage
October 1, 2007, after Spectrum had circulated and obtained        orders regulating terms and conditions of employment in
written consent to its on-duty meal break policy.                  various industries and occupations. (Murphy v. Kenneth Cole
                                                                   Productions, Inc., supra, 40 Cal.4th at p. 1105, 56 Cal.Rptr.3d
                                                                   880, 155 P.3d 284 (Murphy); see Brinker Restaurant Corp. v.



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 Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 7 of 21 Page ID #:666
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


Superior Court, supra, 53 Cal.4th at p. 1017, 139 Cal.Rptr.3d
315, 273 P.3d 513.) For most of the century following the
                                                                                                A.
promulgation of the break requirements, however, the law
offered limited tools for enforcement: “The only remedy            When an employment relationship comes to an end, the Labor
available to employees ... was injunctive relief aimed at          Code requires employers to promptly pay any unpaid wages
preventing future abuse.” (Murphy, at p. 1105, 56 Cal.Rptr.3d      to the departing employee. The law establishes different
880, 155 P.3d 284.)                                                payment deadlines depending on the manner of departure.
                                                                   Labor Code section 201 establishes a baseline statutory
In 2000, concerned that the injunctive remedy had not given        deadline for paying employees who are discharged from their
employers enough incentive to comply with the law, the IWC         employment: upon termination, “wages earned and unpaid at
added a new monetary remedy: employees denied a meal or            the time of discharge are due and payable immediately.” (Lab.
rest break on a given day would be due “one (1) hour of            Code, § 201, subd. (a).) Labor Code section 202 specifies the
pay at the employee's regular rate of compensation.” (IWC          default deadline for paying employees who instead resign:
wage order No. 4-2001, §§ 11(B), 12(B); see Ferra v. Loews         immediately at the time of quitting, if the employee has
Hollywood Hotel, LLC (2021) 11 Cal.5th 858, 870, 280               given sufficient advance notice, and within 72 hours if the
Cal.Rptr.3d 783, 489 P.3d 1166; Murphy, supra, 40 Cal.4th
                                                                   employee has not. (Id., § 202, subd. (a).) 3 To enforce these
at pp. 1105–1106, 1110, 56 Cal.Rptr.3d 880, 155 P.3d 284.)
                                                                   deadlines, Labor Code section 203 prescribes a sanction for
The Legislature followed suit the same year by enacting
                                                                   employers who “willfully fail[ ] to pay” the full amounts
Labor Code section 226.7 (Stats. 2000, ch. 876, § 7, p.
                                                                   due: absent timely payment of “any wages of an employee
6509), providing that employers who unlawfully denied their
                                                                   who is discharged or who quits, the wages of the employee
employees a meal or rest period on any given day must pay
                                                                   shall continue as a penalty from the due date thereof at
the employees an “additional hour of pay” at their “regular
                                                                   the same rate until paid or until an action therefor is
rate” (Lab. Code, § 226.7, subd. (c) (section 226.7); see Ferra,
                                                                   commenced; but the wages shall not continue for more than
at pp. 869–872, 280 Cal.Rptr.3d 783, 489 P.3d 1166).
                                                                   30 days.” (Id., § 203, subd. (a).) Section 203 penalties for
                                                                   willful delays in the payment of end-of-employment wages
The primary questions in this case concern the relationship
                                                                   are commonly referred to as “waiting time penalties.” (Kim v.
between the premium pay provision of section 226.7,
                                                                   Reins International California, Inc. (2020) 9 Cal.5th 73, 82,
subdivision (c), and the provisions of the Labor Code
                                                                   259 Cal.Rptr.3d 769, 459 P.3d 1123.)
governing the reporting of wages and timely payment of
wages upon discharge or resignation. Spectrum did not seek
                                                                    *4 Naranjo's class claim alleges that: (1) under section
review of the lower courts’ determination that it violated
                                                                   226.7 and the applicable wage order, Spectrum was obligated
state meal break requirements, so we take as settled that the
                                                                   to pay premium pay for noncompliant meal periods (i.e.,
class members are entitled to premium pay. It is likewise
                                                                   meal periods during which employees were required to
undisputed that Spectrum neither paid that premium pay nor
                                                                   work without a valid on-duty meal agreement in place);
reported it as earned on employee wage statements. When
                                                                   (2) Spectrum was obligated to make these payments in a
an employer unlawfully denies an employee a meal or rest
                                                                   timely manner upon discharge or quitting (see Lab. Code,
period and thus becomes obligated to pay an extra hour's pay,
                                                                   §§ 201–202), but did not do so; and (3) this dereliction was
can the employer be held liable under Labor Code section
                                                                   willful, warranting imposition of waiting time penalties under
203 if it fails to pay any unpaid missed break amounts within
                                                                   Labor Code section 203. As noted, the trial court agreed
statutorily mandated deadlines? And can it be held liable
                                                                   with Naranjo that Spectrum owed premium pay and that
under Labor Code section 226 if it fails to report that premium
                                                                   untimely payments could trigger penalties but found none
pay on a statutorily required wage statement? Spectrum
                                                                   owed here because Spectrum's delay was not willful. The
argues the answer to each question is no. We address its
                                                                   Court of Appeal affirmed, but on very different grounds; it
contentions in turn, beginning with an employer's prompt
                                                                   concluded that even a willful failure to pay amounts owed
payment responsibilities. (See Lab. Code, §§ 201–203.)
                                                                   under section 226.7 can never trigger section 203 waiting time
                                                                   penalties. (Naranjo II, supra, 40 Cal.App.5th at p. 474, 253
                                                                   Cal.Rptr.3d 248.)
                              III.




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 Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 8 of 21 Page ID #:667
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


The Court of Appeal began by observing that Labor Code             *5 In this respect, missed-break premium pay is comparable
section 203 imposes a penalty for the willful failure to          to other forms of payment for working under conditions
timely pay “any wages.” (Lab. Code, § 203, subd. (a), italics     of hardship. Take overtime premium pay, for example: An
added.) The Labor Code defines the term “wages” to include        employer who requires an employee to work more hours
“all amounts for labor performed by employees of every            than the Legislature has determined is generally desirable
description, whether the amount is fixed or ascertained by        must pay extra for the privilege, both to compensate the
the standard of time, task, piece, commission basis, or other     employee for the hardship incident to such work and to
method of calculation.” (Lab. Code, § 200, subd. (a).) The        deter the employer from routinely imposing such obligations.
Court of Appeal reasoned that payment under section 226.7         (See Murphy, supra, 40 Cal.4th at p. 1109, 56 Cal.Rptr.3d
is unambiguously beyond the reach of the wages definition         880, 155 P.3d 284 [“while [overtime pay's] central purpose
because it is a legal remedy, not payment for labor: The          is to compensate employees for their time, it also serves a
premium pay is due employees not for work they performed          secondary function of shaping employer conduct”]; id. at
but as a sanction on account of “the employer's recalcitrance”    p. 1110, 56 Cal.Rptr.3d 880, 155 P.3d 284 [missed-break
regarding meal breaks. (Naranjo II, supra, 40 Cal.App.5th at      premium pay is intended “to compensate employees, while
p. 473, 253 Cal.Rptr.3d 248.) We now hold this was error.         also acting as an incentive for employers to comply with
                                                                  labor standards”].) And precisely because it compensates the
The Court of Appeal was correct that premium pay is a             employee for work, overtime premium pay has always also
statutory remedy for a legal violation. But the court's further   been understood as wages for purposes of Labor Code section
conclusion that premium pay cannot constitute wages rests         200 and related statutes. (Murphy, at p. 1109, 56 Cal.Rptr.3d
on a false dichotomy: that a payment must be either a legal       880, 155 P.3d 284 [“overtime pay is considered a wage”]; see,
remedy or wages. For these purposes, section 226.7 is both.       e.g., Ghory v. Al-Lahham (1989) 209 Cal.App.3d 1487, 1492,
That is because under the relevant statute and wage order,        257 Cal.Rptr. 924 [applying Lab. Code, § 203 to nonpayment
an employee becomes entitled to premium pay for missed            of overtime wages]; Takacs v. A.G. Edwards and Sons, Inc.
or noncompliant meal and rest breaks precisely because she        (S.D.Cal. 2006) 444 F.Supp.2d 1100, 1125 [plain language of
was required to work when she should have been relieved of        Lab. Code, § 200 reaches overtime wages].)
duty: required to work too long into a shift without a meal
break; required in whole or part to work through a break;         True, the hour of premium pay here, unlike overtime, is
or, as was the case here, required to remain on duty without      payable as a lump sum for a missed break of any duration;
an appropriate agreement in place authorizing on-duty meal        it is not paid pro rata. But premium pay is not unique in this
breaks. 4 (IWC wage order No. 4-2001, § 11(A), (B); see §         respect; the law treats as wages many types of compensation
226.7, subd. (c); Donohue v. AMN Services, LLC (2021) 11          for labor where the amount of money in question lacks
Cal.5th 58, 62, 275 Cal.Rptr.3d 422, 481 P.3d 661.)               a perfect one-to-one correlation with the amount of time
                                                                  worked. Take, for example, reporting-time pay: An employee
The premium pay due for the deprivation is certainly designed     who reports for duty but is given less than half a day's work
to compensate employees for hardships the Legislature             is generally guaranteed no less than two hours or a half-
concluded employees should not be made to suffer. But             day's pay as a reporting time premium, without regard to
when those hardships include rendering work, the pay owed         the precise number of hours worked. (IWC wage order No.
can equally be viewed as wages. As noted, the Labor Code          4-2001, § 5(A); see Shine v. Williams-Sonoma, Inc. (2018)
defines the term broadly, to encompass “amounts for labor         23 Cal.App.5th 1070, 1077, 233 Cal.Rptr.3d 676 [“reporting-
performed ... of every description.” (Lab. Code, § 200, subd.     time pay is a form of wages”].) Or split-shift pay: An
(a).) An employee who remains on duty during lunch is             employee who works a split shift is entitled to an additional
providing the employer services; so too the employee who          hour of pay over and above the minimum wage for that day,
works without relief past the point when permission to stop       again without a pro rata relation to the number of hours
to eat or rest was legally required. Section 226.7 reflects a     worked. (IWC wage order No. 4-2001, § 4(C); see Caliber
determination that work in such circumstances is worth more       Bodyworks, Inc. v. Superior Court (2005) 134 Cal.App.4th
— or should cost the employer more — than other work, and         365, 386, 36 Cal.Rptr.3d 31 [split-shift premium is wages].)
so requires payment of a premium.                                 The manner in which the pay accrues does not in itself
                                                                  determine whether it is designed to compensate for labor.




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 Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 9 of 21 Page ID #:668
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


Section 226.7 missed-break premium pay does differ from             instead creating an affirmative obligation on the employer
these examples in that it aims to remedy a legal violation.         to pay the employee one hour of pay,” an obligation that
The law permits an employer to allow an employee to work            makes the employee entitled to missed-break premium pay
overtime hours, or to work a split shift, provided the employee     “immediately upon being forced to miss a rest or meal
is paid extra for it, but the law generally does not permit an      period.” (Id. at p. 1108, 56 Cal.Rptr.3d 880, 155 P.3d 284.)
employer to deprive an employee of a meal or rest break.            “In that way,” we said, “a payment owed pursuant to section
But why should this difference matter? That missed-break            226.7 is akin to an employee's immediate entitlement to
premium pay serves as a remedy for a legal violation does           payment of wages or for overtime.” (Ibid.) We observed that
not change the fact that the premium pay also compensates           “the amount of the payment is linked to an employee's rate
for labor performed under conditions of hardship. One need          of compensation, rather than a prescribed fixed amount,”
not exclude the other. The Legislature is free, if it so chooses,   a method of calculation that “further supports the position
to establish a remedy for the violation that takes the form         that section 226.7 payments are a form of wages.” (Id. at
of a requirement to pay additional compensation for services        p. 1114, 56 Cal.Rptr.3d 880, 155 P.3d 284.) Finally, we
provided under such disfavored conditions. That is what it          explained that, as a functional matter, neither any ancillary
has done in section 226.7. (See Kim v. Reins International          impact in shaping employer behavior, nor the fact premium
California, Inc., supra, 9 Cal.5th at p. 84, 259 Cal.Rptr.3d        pay is not calculated based on the amount of rest lost,
769, 459 P.3d 1123 [“additional hour of wages” is the               precludes a determination that “the ‘additional hour of pay’ ”
prescribed “remedy for failing to provide meal and rest             provided for by section 226.7 “is a premium wage intended to
breaks”].)                                                          compensate employees, not a penalty.” (Murphy, at p. 1114,
                                                                    56 Cal.Rptr.3d 880, 155 P.3d 284.)
These are not new observations. We made essentially
the same points in Murphy, supra, 40 Cal.4th 1094, 56               Notwithstanding Murphy’s unambiguous pronouncement that
Cal.Rptr.3d 880, 155 P.3d 284, where we considered the              section 226.7 premium pay is indeed a wage designed
applicable statute of limitations for claims that an employee       to compensate employees for work, Spectrum argues that
had been denied meal or rest breaks. Because Code of Civil          Murphy somehow hurts the case for treating premium pay
Procedure section 340 prescribes one period for penalty             as wages rather than helping it. In support of this rather
claims, and Code of Civil Procedure section 338 provides            curious argument, Spectrum fixates on language describing
another for statutory liabilities that are not penalties, we        missed-break premium pay, like overtime pay or split shift
needed to determine whether the remedy for a missed break           pay, as “compensat[ing] the employee for events other than
is an ordinary statutory liability or a penalty. We concluded       time spent working” (Murphy, supra, 40 Cal.4th at p. 1113,
the Legislature intended for the section 226.7 payment to           56 Cal.Rptr.3d 880, 155 P.3d 284, italics added; accord,
constitute wage compensation and not a penalty. (Murphy, at         Ferra v. Loews Hollywood Hotel, LLC, supra, 11 Cal.5th
pp. 1099, 1103, 56 Cal.Rptr.3d 880, 155 P.3d 284.)                  at p. 876, 280 Cal.Rptr.3d 783, 489 P.3d 1166), which
                                                                    Spectrum understands to mean that premium pay is not
 *6 We explained there, as we have here, that the “ ‘additional     actually compensation for work. Of course, Spectrum reads
hour of pay’ ” provided by section 226.7 can be understood          the language out of context and so misunderstands it. The
as “a wage to compensate employees for the work” they               passage responded to an argument that premium pay must be
performed during a meal or rest period (Murphy, supra,              a penalty because “it is imposed without reference to actual
40 Cal.4th at p. 1104, 56 Cal.Rptr.3d 880, 155 P.3d 284),           damage, since an hour of pay is owed whether the employee
much as overtime pay is considered wages to compensate              has missed an unpaid 30-minute meal period, two paid 10-
employees for work performed in excess of the number of             minute rest periods, or some combination thereof.” (Murphy,
hours the Legislature deems desirable (id. at p. 1109, 56           at p. 1112, 56 Cal.Rptr.3d 880, 155 P.3d 284.) The court
Cal.Rptr.3d 880, 155 P.3d 284). Indeed, we noted that the           explained that while it is true the amount of premium pay is
IWC commissioners who first decided to adopt the “ ‘hour            not calibrated to compensate the employee according to the
of pay’ remedy” for meal and rest break violations had              specific amount of time spent working, the same is true of
made this very same comparison. (Ibid.; see id. at pp. 1109–        other forms of wage compensation, such as split-shift pay, that
1110, 56 Cal.Rptr.3d 880, 155 P.3d 284.) We also noted that         also compensate for particular hardships accompanying the
during the drafting process, the Legislature “eliminated the        work performed. (Id. at p. 1113, 56 Cal.Rptr.3d 880, 155 P.3d
requirement that an employee file an enforcement action,            284.) The amount of missed-break premium pay owed may



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 Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 10 of 21 Page ID #:669
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


be based on considerations beyond simply the amount of time         Code's timing requirements for the payment of wages at the
spent working, but that does not alter the conclusion that it       end of employment. The arguments are unpersuasive.
constitutes compensation for work, like other forms of wages.
(Id. at p. 1114, 56 Cal.Rptr.3d 880, 155 P.3d 284.)                 Spectrum's primary argument is that treating premium pay
                                                                    as wages is inconsistent with our post-Murphy decision in
Spectrum also seeks to limit Murphy on the ground that it           Kirby v. Immoos Fire Protection, Inc. (2012) 53 Cal.4th
was a case about the statute of limitations, not any provision      1244, 140 Cal.Rptr.3d 173, 274 P.3d 1160 (Kirby). Kirby
of the Labor Code governing the payment or reporting of             considered whether an action under section 226.7 was “an
wages. On this point, at least, Spectrum is correct. But            ‘action brought for the nonpayment of wages’ ” for purposes
nothing in Murphy’s conclusion that premium pay constitutes         of fee-shifting under Labor Code section 218.5. (Kirby, at
wages was specific to the statute of limitations context; the       p. 1251, 140 Cal.Rptr.3d 173, 274 P.3d 1160.) We explained
conclusion instead rested on consideration of the text of           that it was not: “Section 226.7 is not aimed at protecting or
Labor Code sections 200 and 226.7, as well as the legislative       providing employees’ wages. Instead, the statute is primarily
history underlying section 226.7. Those are the very same           concerned with ensuring the health and welfare of employees
provisions at issue here, and they are equally susceptible to the   by requiring that employers provide meal and rest periods as
interpretation that Murphy gave them, for the reasons Murphy        mandated by the IWC.” (Kirby, at p. 1255, 140 Cal.Rptr.3d
gave, when we consider how those provisions interact with           173, 274 P.3d 1160.) Consequently, we concluded, “a section
the Labor Code's prompt wage payment requirements.                  226.7 action is brought for the nonprovision of meal and rest
                                                                    periods, not for the ‘nonpayment of wages.’ ” (Kirby, at p.
The interpretation makes sense in this statutory context.           1255, 140 Cal.Rptr.3d 173, 274 P.3d 1160.)
As explained above, the Legislature requires employers to
pay missed-break premium pay on an ongoing, running                 Spectrum reads Kirby as holding that missed-break premium
basis (Murphy, supra, 40 Cal.4th at p. 1108, 56 Cal.Rptr.3d         pay is not a wage for purposes of Labor Code section 218.5
880, 155 P.3d 284), just like other forms of wages (see             and thus, more generally, is not a wage for all or most Labor
Lab. Code, § 204). It stands to reason that, just like other        Code purposes — notwithstanding the contrary analysis in
forms of wages, any unpaid premium pay must be paid                 Murphy, supra, 40 Cal.4th 1094, 56 Cal.Rptr.3d 880, 155
promptly once an employee leaves the job. And when an               P.3d 284. Variations on this theme appear in the opinions of
employer willfully fails to comply with this obligation,            a number of courts that have likewise read Kirby to mean
making penalties available serves the purpose underlying            that missed-break premium pay is not generally a wage.
Labor Code section 203: to incentivize employers to pay             The Court of Appeal in this case summarized the chain of
end-of-employment compensation when it is due, rather than          thought: “ ‘[U]nder Kirby, the legal violation underlying a
forcing employees to seek administrative relief or to go to         section 226.7 claim is the nonprovision of meal and rest
court. (McLean v. State of California (2016) 1 Cal.5th 615,         periods and the corresponding failure to “ensur[e] the health
626, 206 Cal.Rptr.3d 545, 377 P.3d 796; Pineda v. Bank of           and welfare of employees,” not the nonpayment of wages.’
America, N.A. (2010) 50 Cal.4th 1389, 1400, 117 Cal.Rptr.3d         ” (Naranjo II, supra, 40 Cal.App.5th at pp. 469–470, 253
377, 241 P.3d 870; Smith v. Superior Court (2006) 39 Cal.4th        Cal.Rptr.3d 248, quoting Jones v. Spherion Staffing LLC
77, 82, 45 Cal.Rptr.3d 394, 137 P.3d 218.) By incentivizing         (C.D.Cal., Aug. 7, 2012, No. LA CV11-06462 JAK, 2012
employers to pay missed-break premium pay immediately,              WL 3264081 at p. *8, 2012 U.S.Dist. LEXIS 112396 at p.
section 203 also enhances the effectiveness of the section          *21.) If a section 226.7 claim is an action for the deprivation
226.7 premium itself, which is designed in part to discourage       of breaks, not the recovery of wages, then the payment
employers from depriving employees of breaks in the first           promised by section 226.7 must not be a wage — but instead
place. (Murphy, at pp. 1110–1111, 56 Cal.Rptr.3d 880, 155           a statutory remedy “ ‘calculated as a wage.’ ” (Naranjo II,
P.3d 284.)                                                          at p. 470, 253 Cal.Rptr.3d 248, quoting Jones, at p. *8, 2012
                                                                    U.S.Dist. LEXIS 112396 at p. *21; see id. at pp. 469–470,
                                                                    253 Cal.Rptr.3d 248 [discussing cases].) These courts have
                                                                    acknowledged that Murphy’s reasoning suggests otherwise
                               B.
                                                                    but determined Murphy is not authoritative on the issue
*7 Spectrum offers various additional arguments for why             because it decided only whether premium pay was “more akin
missed-break premium pay should not be subject to the Labor         to a penalty or a wage” for the narrow purpose of selecting



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 Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 11 of 21 Page ID #:670
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


an applicable statute of limitations. (Jones, at p. *9, 2012        Spectrum disagrees on this point, arguing that the nature of a
U.S.Dist. LEXIS 112396 at p. *25.)                                  section 226.7 missed-break action is critical to the operation
                                                                    of Labor Code section 203 ’s waiting-time penalty provision,
These arguments misread Kirby. Kirby did not reject or limit        just as it is critical to the operation of the attorney fee statute
Murphy’s characterization of section 226.7 premium pay              at issue in Kirby. Spectrum borrows this argument from Ling
as compensation for labor. On the contrary, Kirby recited           v. P.F. Chang's China Bistro, Inc. (2016) 245 Cal.App.4th
Murphy’s characterization without any apparent disapproval.         1242, 200 Cal.Rptr.3d 230 (Ling), which in turn focused on
(Kirby, supra, 53 Cal.4th at p. 1257, 140 Cal.Rptr.3d 173,          the language of Labor Code section 203, subdivision (b). That
274 P.3d 1160.) Kirby then went on to distinguish the inquiry       provision states: “Suit may be filed for these penalties at any
in Murphy from the inquiry called for under Labor Code              time before the expiration of the statute of limitations on an
section 218.5. Kirby explained that our prior conclusion that       action for the wages from which the penalties arise.” (Lab.
premium pay is a wage did not necessarily mean that an action       Code, § 203, subd. (b).) The Ling court reasoned: that this
under section 226.7 is an action for nonpayment of wages            provision makes any claim for penalties under section 203
under section 218.5. The characterization of the nature of an       derivative of an underlying action for wages; that under Kirby,
action under section 218.5 turns instead on the nature of the       a claim for section 226.7 premium pay is not an action for
underlying legal violation the action seeks to remedy, not the      wages; and thus that no section 203 waiting time penalties can
form of relief that might be available to cure that violation.      lie based on failure to promptly pay the extra money owed
(Kirby, at pp. 1256–1257, 140 Cal.Rptr.3d 173, 274 P.3d             for missed breaks under section 226.7. (Ling, at p. 1261, 200
1160.) And “[t]o say that a section 226.7 remedy is a wage,”        Cal.Rptr.3d 230.)
as we did in Murphy, “is not to say that the legal violation
triggering the remedy is nonpayment of wages,” as opposed           The argument reads more into Labor Code section 203,
to the deprivation of meal or rest breaks. (Kirby, at p. 1257,      subdivision (b), than the provision will bear. As already
140 Cal.Rptr.3d 173, 274 P.3d 1160.) 5                              explained, the conditions for substantive entitlement to
                                                                    waiting time penalties are defined in subdivision (a) of
 *8 In so distinguishing Murphy, Kirby did not repudiate or         Labor Code section 203, which speaks simply of the willful
narrow that case's characterization of section 226.7 pay as         nonpayment of “any wages of an employee who is discharged
a wage. It merely held that the nature of the remedy does           or who quits.” (Lab. Code, § 203, subd. (a).) Subdivision
not dictate the proper characterization of the legal violation      (b) was added in 1939 to extend the statute of limitations
triggering the remedy under section 226.7. The reverse is           for recovering the waiting time penalties provided for in
equally true: Even if the underlying violation is a failure to      subdivision (a) to equal that of the limitations period for
provide healthy working conditions by requiring excess work         recovering the underlying unpaid wages. (Stats. 1939, ch.
in place of rest, not failure to pay for labor (as Kirby says),     1096, § 1, p. 3026; Pineda v. Bank of America, N.A., supra,
the Legislature is still free to adopt as a remedy payment of       50 Cal.4th at p. 1400, 117 Cal.Rptr.3d 377, 241 P.3d 870.)
additional wages for that excess labor (as Murphy said before       In describing the latter limitations period, subdivision (b)
it).                                                                of section 203 does use the phrase “action for the wages.”
                                                                    But whereas Labor Code section 218.5 focuses on the nature
As Spectrum notes, Kirby did also distinguish actions under         of the legal violation challenged (an “action brought for
section 226.7 from actions under Labor Code sections 201            the nonpayment of wages,” italics added) to limit the scope
and 202. (Kirby, supra, 53 Cal.4th at pp. 1255–1256, 140            of its application, the wording of Labor Code section 203,
Cal.Rptr.3d 173, 274 P.3d 1160.) Unlike an employee suing           subdivision (b), evinces no similar concern with categorizing
under section 226.7, an employee suing for failure to pay           suits according to the nature of the alleged legal violation in
wages by the deadline established in the latter statutes is suing   order to limit its scope. The rest of the statute illustrates why
for nonpayment of wages for purposes of an attorney fee             this would be an unlikely reading: In contrast to subdivision
award under Labor Code section 218.5. (Kirby, at p. 1256,           (a), subdivision (b)’s only function is to extend the limitations
140 Cal.Rptr.3d 173, 274 P.3d 1160.) But this case does not         period of a suit to recover waiting time penalties to match
concern attorney fees under Labor Code section 218.5, nor           the timing of any suit seeking the recovery of the underlying
does it otherwise turn on the nature of Naranjo's action, so        unpaid wages. Nothing about that function suggests the
that distinction is not meaningful here.                            alleged reasons why an employer is obliged to pay the wages
                                                                    in the first place should matter. We decline to interpret a



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Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 12 of 21 Page ID #:671
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


limitations provision enacted to extend the reach of a penalty     its employees for their work. That Labor Code section 203
designed to deter nonpayment (Pineda, at p. 1400, 117              does not cite section 226.7 by name is no more remarkable
Cal.Rptr.3d 377, 241 P.3d 870) to bar relief entirely in a class   than the fact that the statute does not list any of these many
of cases concerning the willful nonpayment of wages.               other sources defining what an employer must pay to its
                                                                   employees upon their departure from employment. 6
 *9 Spectrum offers various other textual arguments. It
observes, for example, that the Legislature has amended            Next, Spectrum emphasizes that the text of section 226.7
Labor Code section 203 on several occasions to specify             uses the term “pay” rather than “wages”: “the employer
additional statutes imposing duties to pay, the violation of       shall pay the employee one additional hour of pay at the
which may give rise to penalties. (See, e.g., Stats. 2008,         employee's regular rate of compensation.” (§ 226.7, subd. (c),
ch. 169, § 2, pp. 555–556; Stats. 2014, ch. 210, § 1; Stats.       italics added.) But the difference in wording is not significant.
2019, ch. 253, § 3; Stats. 2019, ch. 700, § 2.5.) The cited        Directly addressing this point in Murphy, we explained that
amendments added references to Labor Code sections 201.3,          “the Legislature has frequently used the words ‘pay’ or
201.6, 201.8, and 201.9, so that the first sentence of section     ‘compensation’ in the Labor Code as synonyms for ‘wages.’
203, subdivision (a), now reads: “If an employer willfully         ” (Murphy, supra, 40 Cal.4th at p. 1104, fn. 6, 56 Cal.Rptr.3d
fails to pay, without abatement or reduction, in accordance        880, 155 P.3d 284 [listing examples]; see Ferra v. Loews
with Sections 201, 201.3, 201.5, 201.6, 201.8, 201.9, 202,         Hollywood Hotel, LLC, supra, 11 Cal.5th at pp. 873, 874, 280
and 205.5, any wages of an employee who is discharged or           Cal.Rptr.3d 783, 489 P.3d 1166 [“pay” and “compensation”
who quits, the wages of the employee shall continue as a           used “interchangeably” in § 226.7].)
penalty from the due date thereof at the same rate until paid
or until an action therefor is commenced; but the wages shall      As a final textual argument, Spectrum observes that Labor
not continue for more than 30 days.” The Legislature has           Code section 201 requires immediate payment of any “wages
not, however, amended the statute to add reference to section      earned and unpaid at the time of discharge.” (Lab. Code,
226.7. From this, Spectrum infers that the Legislature did not     § 201, subd. (a), italics added.) Premium pay, Spectrum
intend Labor Code section 203 to apply to nonpayment of            reasons, is not truly “earned” because it is not due on
section 226.7 premium pay.                                         account of an employee's labor, but for other reasons. Further,
                                                                   Spectrum argues, such pay is not earned as of “the time of
The inference is unsound. The statutes to which the                discharge,” but is only due if and when a court determines
Legislature added references share a common feature: They          meal and rest break violations have occurred. Spectrum is
are all statutes that set particular deadlines for paying          wrong on both points.
employees in certain industries or occupations. (See, e.g.,
Lab. Code, §§ 201.5 [deadline for motion picture employees],        *10 For starters, the common meaning of the term “earned”
201.6 [deadline for photo shoot employees].) The other             is not limited to amounts accrued on the basis of particular
statutes listed in Labor Code section 203 likewise set out the     increments of time worked; an amount can be “earned”
deadlines for payment in certain situations, including Labor       whenever it is “acquire[d] or deserve[d] as a result of effort
Code section 201 (general deadline for payment on discharge)       or action.” (American Heritage Dict. (5th ed. 2016) p. 561.)
and Labor Code section 202 (general deadline for payment           The employee who remains on duty without a timely break
on resignation). Labor Code section 203 says in essence            has “earned” premium pay within any ordinary sense of the
that if an employer fails to meet the deadlines for payment        word. And any argument that the Legislature intended the use
established in section 201, section 202, or any of the other       of “earned” in a more specialized or restrictive sense runs
statutes establishing specific deadlines, the employer may be      aground upon examination of the statutory scheme. Notably,
liable for penalties. None of the listed statutes addresses the    the closely related Labor Code section 202, governing the
question of what amounts, precisely, the employer must pay         timing of payment upon an employee's resignation, does
by the specified deadlines. That question is instead answered      not use the word “earned.” (See Lab. Code, § 202, subd.
by Labor Code section 203 itself, which uses the unelaborated      (a) [establishing timing for payment of “wages”].) No
phrase “any wages”; by Labor Code section 200, which               reason appears why the Labor Code would impose different
defines what “wages” means; and by a host of other statutes,       requirements for what must be paid depending on whether
wage order provisions, collective bargaining agreements, and       an employee has quit or been fired, and Spectrum offers
individual contracts that spell out what an employer must pay      none. This is because the difference in wording does not, in



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Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 13 of 21 Page ID #:672
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


fact, create a difference in meaning, and so premium wages       the premium pay compensates for that violation. When, by
owed for working without a break must be timely paid upon        contrast, an employer both denies the employee a meal break
discharge, just as they must be paid upon resignation.           and fails to provide the employee the premium wages due in
                                                                 a timely fashion upon the employee's termination, the failure
As for Spectrum's second point, we have already explained        to make timely payment is a second, distinct violation, for
why Spectrum is wrong to presume that premium pay is not         which there may be additional remedies available. It in no way
owed at the time of discharge, but only once a court compels     upsets the legislative scheme to conclude that when there is a
its payment. During the drafting process, the Legislature        second, distinct violation of Labor Code requirements, there
eliminated the need for employees to file enforcement actions    will be a second, distinct remedy for that further breach. 7
to obtain missed-break premium pay. Instead, under the law
as enacted, “an employee is entitled to the additional hour       *11 Finally, Spectrum urges that the weight of lower court
of pay immediately upon being forced to miss a rest or meal      authority indirectly supports its view: Because the Legislature
period.” (Murphy, supra, 40 Cal.4th at p. 1108, 56 Cal.Rptr.3d   has taken no action in response to the existing case law,
880, 155 P.3d 284, italics added.) In other words, the duty to   Spectrum argues, the Legislature has effectively acquiesced
pay attaches before the time of discharge and does not depend    in its conclusions. Legislative acquiescence arguments of
on a prior court determination.                                  this type rarely do much to persuade; even when a clear
                                                                 consensus has emerged in the appellate case law, we have
Spectrum next argues that authorizing Labor Code section         noted that legislative inaction supplies only a “ ‘ “ ‘ “weak
203 waiting time penalties for willful failure to make prompt    reed upon which to lean” ’....” ’ ” in inferring legislative
payment would contravene a supposed legislative intent           intent. (Mendoza v. Fonseca McElroy Grinding Co., Inc.
to make the premium pay in section 226.7 a precise and           (2021) 11 Cal.5th 1118, 1139, 282 Cal.Rptr.3d 369, 492 P.3d
exclusive remedy for missed breaks. Spectrum observes            993.) Here, there is not even a clear consensus. Only three
that the hour of pay remedy was the product of a lengthy         Courts of Appeal have examined the issue we now consider.
drafting process in which the specified remedy for denial of     All three cases were decided in the last five years; all contain
meal or rest breaks went through multiple revisions before       a page or less of analysis buried in lengthy opinions focused
the Legislature settled on the eventual compensation (see        on other questions; and two of those three (including the
Murphy, supra, 40 Cal.4th at pp. 1106–1108, 56 Cal.Rptr.3d       Court of Appeal decision in this very case) are not even final
880, 155 P.3d 284), and that Murphy characterized this           but are under review in this court. (See Betancourt v. OS
remedy as the “sole compensation” for denial of a meal or        Restaurant Services, LLC (2020) 49 Cal.App.5th 240, 262
rest period (id. at p. 1107, 56 Cal.Rptr.3d 880, 155 P.3d 284;   Cal.Rptr.3d 745, review granted Aug. 19, 2020, S262866;
see id. at p. 1104, 56 Cal.Rptr.3d 880, 155 P.3d 284 [“only      see also Ling, supra, 245 Cal.App.4th 1242, 200 Cal.Rptr.3d
compensation”]). According to Spectrum, to layer waiting         230.) Numerous federal district court decisions have also
time penalties on top would subvert this carefully calibrated    considered the question but, as Spectrum acknowledges, these
remedial choice.                                                 courts are deeply split over whether unpaid missed-break
                                                                 premium pay may support a Labor Code section 203 claim,
We disagree. Spectrum's argument assumes that waiting time       with many decisions on both sides of the issue. (Stewart v.
penalties aim at the same conduct as premium pay. They do        San Luis Ambulance, Inc. (9th Cir. 2017) 878 F.3d 883, 887–
not. One is a remedy for the deprivation of required rest or     888 [noting federal split]; compare, e.g., In re Autozone, Inc.
meal breaks; the other is a remedy for the failure to make       (N.D.Cal., Aug. 10, 2016, No. 3:10-md-02159-CRB), 2016
prompt payment of unpaid wages when the employee leaves          WL 4208200, *––––, 2016 U.S.Dist. LEXIS 105746, *19–
the job. One violation does not necessarily imply the other:     *24 [recovery available under Lab. Code, § 203] with Jones
An employer might deprive an employee of a break and             v. Spherion Staffing LLC, supra, 2012 WL 3264081, *––––,
then promptly and timely pay that employee the premium           2012 U.S.Dist. LEXIS 112396, *21–*26 [no recovery under
pay to which section 226.7 entitled the employee. (See, e.g.,    Lab. Code, § 203].) That the Legislature has failed to act in the
Donohue v. AMN Services, LLC, supra, 11 Cal.5th at pp. 62–       face of these conflicting authorities tells us exactly nothing
63, 275 Cal.Rptr.3d 422, 481 P.3d 661 [describing employer       about its views.
that did so]; Ferra v. Loews Hollywood Hotel, LLC, supra, 11
Cal.5th at p. 864, 280 Cal.Rptr.3d 783, 489 P.3d 1166 [same].)   In short, missed-break premium pay constitutes wages for
In that instance, there is only one statutory violation, and     purposes of Labor Code section 203, and so waiting time



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Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 14 of 21 Page ID #:673
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


penalties are available under that statute if the premium pay     Cal.App.5th 987, 991, 279 Cal.Rptr.3d 373 [wage statement
is not timely paid. We disapprove Ling v. P.F. Chang's China      that shows overtime hours worked and overtime premiums
Bistro, Inc., supra, 245 Cal.App.4th 1242, 200 Cal.Rptr.3d        complies with Lab. Code, § 226].)
230, to the extent its discussion of Labor Code sections 203
and 226.7 is inconsistent with this opinion.                      Spectrum also emphasizes that Labor Code section 226
                                                                  requires the reporting of “wages earned” (Lab. Code, § 226,
                                                                  subd. (a), italics added) and argues that even if missed-break
                                                                  premium pay is a wage, it is not “earned” because it is not pay
                             IV.
                                                                  for time spent working. We have discussed and rejected this
We turn now to the question of wage statements. The wage          same argument in connection with Labor Code section 203,
statement statute (Lab. Code, § 226) began as a simple            and it has no greater force here. (See ante, –––– – ––––, –––
requirement that employers report deductions from pay (see        Cal.Rptr.3d at ––––, ––– P.3d at ––––.)
Stats. 1943, ch. 1027, § 1, p. 2965) but has since expanded to
require a detailed list of information, including hours worked,   It is true, as Spectrum says, that the requirement to report
wages earned, hourly rates, and employee- and employer-           “wages earned” predates the enactment of section 226.7 and
identifying information (Lab. Code, § 226, subd. (a); Ward v.     the creation of a premium pay remedy. But nothing in the
United Airlines, Inc. (2020) 9 Cal.5th 732, 744–745 & fn. 3,      text of Labor Code section 226 suggests that the reporting
                                                                  requirement is limited to categories of compensation that
264 Cal.Rptr.3d 1, 466 P.3d 309). 8 As particularly relevant
                                                                  were known at the time the reporting requirement was
here, Labor Code section 226 requires that an employer report
                                                                  enacted. And Naranjo's broader understanding of the scope
both “gross wages earned” and “net wages earned.” (Lab.
                                                                  of section 226 ’s obligation to report wages earned fits better
Code, § 226, subd. (a)(1), (5).) To enforce this provision,
                                                                  with the “core purpose” behind requiring an employer to
the Legislature has provided that employees who are injured
                                                                  “ ‘ “document[ ] the basis of the employee compensation
by a “knowing and intentional failure by an employer to
                                                                  payments” ’ ” — to enable employees to verify they have been
comply with” this requirement may recover “the greater of
                                                                  compensated properly, without shortchanging or improper
all actual damages or fifty dollars ($50) for the initial pay
                                                                  deduction. (Ward v. United Airlines, Inc., supra, 9 Cal.5th at p.
period in which a violation occurs and one hundred dollars
                                                                  752, 264 Cal.Rptr.3d 1, 466 P.3d 309; see id. at pp. 752–753,
($100) per employee for each violation in a subsequent pay
period, not to exceed an aggregate penalty of four thousand       755, 264 Cal.Rptr.3d 1, 466 P.3d 309.) 9 This purpose would
dollars ($4,000)” as well as “costs and reasonable attorney's     not be served by reading into the choice of the word “earned”
fees.” (Id., subd. (e)(1).)                                       a distinction between different kinds of wages presently
                                                                  owed, depending on how the employee became entitled to
 *12 We must consider whether the requirement that “wages”        them — whether because of missed breaks or otherwise.
be reported extends to payments under section 226.7 for
missed breaks. We have already explained that premium pay         Spectrum next argues it cannot be liable for violating Labor
is fairly understood as falling within the Labor Code's general   Code section 226 based on failure to report missed-break
definition of wages. Spectrum makes various additional            premium pay on employee wage statements because these
arguments for why premium pay should not be treated as            amounts were not actually paid, but were instead (illegally)
reportable wages under Labor Code section 226, but those          withheld, and nothing in the statute requires that an employer
arguments fail to persuade.                                       report amounts not paid during a pay period.


As an initial matter, Spectrum observes that Labor Code            *13 This argument ignores the statutory text. Labor Code
section 226 lists many categories of information that must be     section 226 does not require employers to report only those
reported but contains no separate requirement that missed-        amounts it deigns to pay; rather, it requires an employer
break premium pay be reported. This is true, but it is            to accompany “each payment of wages” with “an accurate
not meaningful; the statute likewise contains no provision        itemized statement” specifying, among other details, the
expressly calling out any other specific sorts of pay, such as    “gross wages earned” and “net wages earned” — in other
overtime pay under Labor Code section 510, that compensate        words, all amounts earned and now owing, not just those
employees for their work and therefore must be reported.          amounts actually paid. (Lab. Code, § 226, subd. (a).) A
(See, e.g., General Atomics v. Superior Court (2021) 64           statement that conceals amounts earned, on the ground that



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Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 15 of 21 Page ID #:674
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


they also were not paid, is not an accurate statement, and it     of information needed to evaluate whether the payment is
does not comply with the statute.   10                            correct, and in so doing results in injury under the terms of
                                                                  the statute. (See Lab. Code, § 226, subd. (e)(2)(B).)
Spectrum looks to case law to support its unlikely reading
of Labor Code section 226 but finds no help there. Though          *14 The other case Spectrum relies on, Soto v. Motel 6
the Court of Appeal in this case agreed with Spectrum             Operating, L.P. (2016) 4 Cal.App.5th 385, 208 Cal.Rptr.3d
— incorrectly — that missed-break premium pay cannot              618, is similarly unhelpful to its argument. Soto involved an
constitute wages, the court still recognized that an itemized     employee's claim that wage statements should report vacation
wage statement that “omits gross and net ‘wages earned’ ”         pay. Under the Labor Code, vacation pay is considered
would run afoul of Labor Code section 226 ’s requirements.        a deferred wage that accrues and vests as employment
(Naranjo II, supra, 40 Cal.App.5th at p. 474, 253 Cal.Rptr.3d     continues but does not actually become a quantifiable wage
248.) The same is true of Maldonado v. Epsilon Plastics,          until the end of employment, when unused vacation time
Inc. (2018) 22 Cal.App.5th 1308, 232 Cal.Rptr.3d 461              converts into an owed wage. (Id. at pp. 391–392, 208
(Maldonado), which Spectrum reads as establishing that only       Cal.Rptr.3d 618; see Lab. Code, § 227.3.) Soto rejected the
paid amounts need be reported. In Maldonado, the Court of         claim that vacation pay must be reported on an ongoing basis,
Appeal addressed a claim that the employer had misreported        explaining that under Labor Code section 226 a statement
overtime hours as regular hours and failed to report the          need only “document the paid wages” during a pay period.
corresponding overtime premiums as wages. Contrary to             (Soto, at p. 392, 208 Cal.Rptr.3d 618.) Spectrum seizes
Spectrum's view, the court in Maldonado, too, recognized          on the italicized language. But read in context, Soto was
that “[w]age statements should include the hours worked           only clarifying that the wage statement need not reflect
at each rate and the wages earned” — not just wages               compensation vesting but not owed and due during the given
actually paid. (Id. at p. 1336, 232 Cal.Rptr.3d 461.) The court   pay period — such as the monetary value of an employee's
denied recovery under Labor Code section 226 not because          accrued vacation balance. Soto did not purport to hold wage
employers are permitted to omit earned but unpaid wages but       statements need not reflect amounts that are owed and due
because the plaintiff employees could not show they were          during a pay period, like missed-break premium pay (see
injured, under section 226 ’s specific definition of injury,      Murphy, supra, 40 Cal.4th at p. 1108, 56 Cal.Rptr.3d 880, 155
by the particular wage statement inaccuracies there at issue.     P.3d 284 [premium pay is due “immediately”]), whenever an
(Maldonado, at pp. 1334–1337, 232 Cal.Rptr.3d 461; see Lab.       employer chooses not to pay them.
Code, § 226, subd. (e).)
                                                                  Finally, Spectrum again argues that the Legislature's inaction
Leaving aside whether Maldonado, supra, 22 Cal.App.5th            in the face of court rulings agreeing with its position on
1308, 232 Cal.Rptr.3d 461 correctly determined that no            the reporting of missed-break premium pay demonstrates
injury could be shown on the facts before it, no similar          the Legislature's acquiescence to that position. But even
shortcoming is present here. The trial court found that           more so than for Labor Code section 203, there is no
Spectrum's employees had “clearly suffered an injury since        clear body of precedent to which the Legislature might be
they could not determine from the wage statements the correct     thought to have acquiesced. The Court of Appeal in this
wages to which they were entitled.” A brief review of the         case is the only appellate court to have squarely addressed
statute shows why that conclusion was correct: Labor Code         the Labor Code section 226 issue; the Court of Appeal's
section 226, subdivision (e)(2) deems injury has occurred         later opinion in Betancourt v. OS Restaurant Services, LLC,
whenever the employee cannot easily determine certain             supra, 49 Cal.App.5th 240, 262 Cal.Rptr.3d 745, review
required information, including rates of pay and all “hours       granted, simply agrees with the Court of Appeal in this case
worked” (id., subd. (a)(9)) at each rate, that would allow the    without offering any independent analysis of its own. And
employee to ascertain whether the payment is correct (see         even Spectrum acknowledges that a split of authority has
id., subd. (e)(2)(B)(i)). Section 226.7 requires an employer      developed among the many federal district court cases to
to pay “one additional hour of pay” for each day in which         consider the question.
a lawful break is not provided. (§ 226.7, subd. (c).) In that
situation, both that additional credited hour of work and         In sum, we hold that an employer's obligation under Labor
the corresponding premium pay owed must be reported on            Code section 226 to report wages earned includes an
the wage statement. Failure to do so deprives the employee        obligation to report premium pay for missed breaks. This



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 Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 16 of 21 Page ID #:675
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


means that, provided the conditions specified in the statute        for the nonpayment of wages, the court shall award interest
are otherwise met, failure to report premium pay for missed         on all due and unpaid wages at the rate of interest specified
breaks can support monetary liability under section 226 for         in subdivision (b) of Section 3289 of the Civil Code” — i.e.,
failure to supply an accurate itemized statement reflecting         10 percent per annum.
an employee's gross wages earned, net wages earned, and
credited hours worked.                                               *15 The trial court in this case awarded prejudgment interest
                                                                    at this 10 percent rate. Although the trial court did not specify
                                                                    the statutory authority for the award, the Court of Appeal
                                                                    assumed it was based on Labor Code section 218.6 and held
                               V.
                                                                    this was error. (Naranjo II, supra, 40 Cal.App.5th at p. 475,
We now turn to a question concerning the calculation of             253 Cal.Rptr.3d 248.)
prejudgment interest. The trial court awarded Naranjo 10
percent prejudgment interest on his meal break claim. The           We agree section 218.6 is indeed inapplicable here. As
Court of Appeal reversed with instructions to recalculate           explained above, in Kirby, supra, 53 Cal.4th 1244, 140
the award based on a 7 percent rate. (Naranjo II, supra, 40         Cal.Rptr.3d 173, 274 P.3d 1160, we concluded that the
Cal.App.5th at pp. 475–476, 253 Cal.Rptr.3d 248.) The Court         neighboring attorney fee-shifting statute, Labor Code section
of Appeal was correct to identify 7 percent as the applicable       218.5, was inapplicable to a section 226.7 suit because such
rate.                                                               an action “is brought for the nonprovision of meal and rest
                                                                    periods, not for the ‘nonpayment of wages.’ ” (Kirby, at p.
The state Constitution establishes a default interest rate of 7     1255, 140 Cal.Rptr.3d 173, 274 P.3d 1160, italics omitted.)
percent “upon the loan or forbearance of any money, goods, or       It follows that for purposes of prejudgment interest under
things in action, or on accounts after demand.” (Cal. Const.,       Labor Code section 218.6, a section 226.7 suit is also not
art. XV, § 1.) Prevailing civil parties are entitled to this        an “action brought for the nonpayment of wages,” as section
interest rate in the calculation of prejudgment interest absent     218.6 requires, and so does not qualify for that statute's higher
a statute specifying a higher rate. (E.g., Brown v. California      rate.
Unemployment Ins. Appeals Bd. (2018) 20 Cal.App.5th 1107,
1116, 229 Cal.Rptr.3d 710; Bullock v. Philip Morris USA, Inc.       Naranjo contends, however, that the trial court's award of
(2011) 198 Cal.App.4th 543, 573, 131 Cal.Rptr.3d 382; see           prejudgment interest should be upheld on other grounds.
also Civ. Code, § 1916.1.)                                          Specifically, he argues the trial court's use of a 10 percent
                                                                    prejudgment interest rate is supported not by Labor Code
No statute specifies the rate of prejudgment interest for most      section 218.6 but directly by the contract-rate statute, Civil
tort or other noncontract claims, so, in such cases, the default    Code section 3289, subdivision (b). The complaint alleges
constitutional rate of 7 percent typically applies. (See, e.g.,     a violation of a statutory and regulatory requirement, not
Michelson v. Hamada (1994) 29 Cal.App.4th 1566, 1585, 36            a breach of any term of Spectrum's agreements with its
Cal.Rptr.2d 343 [applying 7 percent rate to fraud claim]; cf.       employees; at no point has Naranjo asserted claims for breach
Civ. Code, § 3291 [specifying 10 percent rate in personal           of contract based on the meal break violations. But Naranjo
injury action when a defendant rejects a settlement offer less      argues that section 3289, subdivision (b) nonetheless applies
favorable than the final judgment].) For many years, the same       because every contract of employment implicitly incorporates
was true of contract claims. But in 1985, the Legislature           mandatory statutory duties, including here the duty to pay
enacted a special default rule governing such claims: “If a         premium pay if an employee is unlawfully deprived of a meal
contract entered into after January 1, 1986, does not stipulate     or rest break, so that a violation of statute is also a breach of
a legal rate of interest, the obligation shall bear interest at a   contract.
rate of 10 percent per annum after a breach.” (Civ. Code, §
3289, subd. (b), as amended by Stats. 1985, ch. 663, § 1, p.        Naranjo relies for this argument on Bell v. Farmers Ins.
2251, and Stats. 1986, ch. 176, § 1, p. 406.) Then, in 2000,        Exchange (2006) 135 Cal.App.4th 1138, 38 Cal.Rptr.3d
as part of the same legislation that enacted section 226.7, the     306 (Bell), which considered the prejudgment interest rate
Legislature extended the higher contract claim interest rate to     applicable to claims for unpaid overtime wages accruing
wage nonpayment actions. (Stats. 2000, ch. 876, § 5, p. 6508.)      both before and after Labor Code section 218.6 took effect.
Labor Code section 218.6 provides: “In any action brought           For claims accruing after section 218.6 ’s effective date, the



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Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 17 of 21 Page ID #:676
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


statute specified the interest rate was 10 percent. Even for       contract rate in wage nonpayment cases. (Bell, supra, 135
claims accruing before section 218.6 took effect, however, the     Cal.App.4th at p. 1147, 38 Cal.Rptr.3d 306.) The court also
Court of Appeal applied the same rate. Any objection to that       recognized that there were conflicting authorities on the
rate had been waived by the defendant, and in any event the        proper characterization of such wage nonpayment actions:
language of section 218.6 supported retroactive application to     for statute of limitations purposes, for example, courts have
wage claims accruing before enactment. (Bell, at pp. 1145–         held that the three-year statute governing actions for statutory
1146, 38 Cal.Rptr.3d 306.) The court went on to conclude,          liabilities applies rather than the two-year statute for unwritten
as a third basis for its decision, that the Legislature might      contracts. (Id. at p. 1148, 38 Cal.Rptr.3d 306.) And treating a
also have thought Labor Code section 218.6 did not change          statutory claim for wage underpayment as a contract claim for
existing law, because Civil Code section 3289, subdivision         interest purposes, even when no statute directs that treatment,
(b) already applied to claims of wage nonpayment, and              would allow parties to have their cake and eat it too. A party
merely intended the enactment as a clarification. Bell cited the   to an oral contract could recover an extra year of premium
common law principle that contracts, including employment          pay because the liability is created by statute, not contract
contracts, must ordinarily “ ‘be held to have been made            (Code Civ. Proc., §§ 338, 339; see Murphy, supra, 40 Cal.4th
in the light of, and to have incorporated, the provisions of       at pp. 1099, 1102, 56 Cal.Rptr.3d 880, 155 P.3d 284 [applying
existing law.’ ” (Bell, at p. 1147, 38 Cal.Rptr.3d 306, quoting    three-year period to missed break pay]; Aubry v. Goldhor
Lockheed Aircraft Corp. v. Superior Court (1946) 28 Cal.2d         (1988) 201 Cal.App.3d 399, 404–406, 247 Cal.Rptr. 205
481, 486, 171 P.2d 21.) The Bell court acknowledged other          [applying three-year period to unpaid overtime]) — while
cases treating suits for unpaid statutory wages as claims to       simultaneously receiving prejudgment interest at the higher
enforce statutory obligations rather than contractual ones.        10 percent rate on the theory that the liability is created
(Bell, at p. 1148, 38 Cal.Rptr.3d 306.) But the court deemed       by contract and not simply by statute (Civ. Code, § 3289,
“more persuasive” case law implying that statutory duties          subd. (b)). The court in Bell did not resolve this seeming
like the duty to pay overtime could be incorporated into           inconsistency. And in the end, the court did not definitively
contracts. (Id. at p. 1149, 38 Cal.Rptr.3d 306.) “At the very      hold that the statutory contract rate would have applied in
least,” the court concluded, “the argument for the application     overtime suits even if Labor Code section 218.6 had never
of the breach-of-contract prejudgment interest rate of Civil       been enacted — it said only that the Legislature might well
Code section 3289 carries sufficient logic to support the          have thought so. (Bell, at pp. 1146, 1149, 38 Cal.Rptr.3d 306.)
assumption” that the legislative choice to extend this default
breach-of-contract rate to wage nonpayment actions in Labor        Whatever the merits of Bell’s reasoning with regard
Code section 218.6 was intended merely as a clarification of       to overtime pay, that reasoning cannot be extended
existing law. (Bell, at p. 1149, 38 Cal.Rptr.3d 306.)              to nonpayment of section 226.7 premium pay, because
                                                                   the available evidence indicates the Legislature has not
 *16 The Court of Appeal in this case dismissed Bell as            understood the failure to pay missed-break premium pay as
inapposite, reasoning that Bell is relevant only to wage suits     a breach of contract subject to contract-rate interest. In the
covered by Labor Code section 218.6. (Naranjo II, supra, 40        very legislation that enacted section 226.7, Assembly Bill
Cal.App.5th at p. 475, 253 Cal.Rptr.3d 248.) The court did         No. 2509 (1999–2000 Reg. Sess.), the Legislature elected to
not address Naranjo's argument that Bell could support a 10        adjust the prejudgment interest rate for certain wage and hour
percent rate in this case under Civil Code section 3289. But we    claims by incorporating Civil Code section 3289, subdivision
nonetheless agree with the Court of Appeal that if Labor Code      (b) ’s 10 percent rate. One provision enacted Labor Code
section 218.6 does not establish a 10 percent interest rate for    section 218.6 (Stats. 2000, ch. 876, § 5, p. 6508), which,
missed-break premium pay awards, then Bell and Civil Code          as discussed, is by its terms too narrow to reach missed-
section 3289 do not justify that rate either.                      break premium-pay claims. Another provision amended an
                                                                   existing statute governing administrative claims for unpaid
As an initial matter, Bell itself was a case about the reach       wages, Labor Code section 98.1, substituting the default
of Labor Code section 218.6. Bell arrived at no definitive         contract rate for a repealed statutory rate for purposes of
conclusions about whether the 10 percent contract rate would       administrative awards of unpaid wages. (Stats. 2000, ch. 876,
have applied in wage nonpayment actions had section 218.6          § 1, p. 6505; see Bell, supra, 135 Cal.App.4th at pp. 1149–
never been enacted. The court in Bell recognized there was         1150, 38 Cal.Rptr.3d 306.) Yet, when drafting and enacting
no pre-section 218.6 precedent adopting or applying the            a new remedy for the denial of proper meal and rest breaks,



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Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 18 of 21 Page ID #:677
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


                                                                 and 226. As such, the failure to timely pay or report such
the Legislature included no similar extension of Civil Code
                                                                 payments can never support penalties under either section 203
section 3289, subdivision (b). (See Stats. 2000, ch. 876, § 7,
                                                                 or 226. We conclude those holdings were incorrect: Missed-
p. 6509.)
                                                                 break premium pay is indeed wages subject to the Labor
                                                                 Code's timely payment and reporting requirements, and it can
 *17 The result is a statutory scheme that expressly applies
                                                                 support section 203 waiting time penalties and section 226
contract rates of prejudgment interest to claims for the
                                                                 wage statement penalties where the relevant conditions for
nonpayment of wages but excludes claims seeking statutory
                                                                 imposing penalties are met.
remedies for violation of working condition requirements
under section 226.7. (See Lab. Code, § 218.6; Kirby,
                                                                 Whether such penalties are available in this particular case
supra, 53 Cal.4th at p. 1255, 140 Cal.Rptr.3d 173, 274
                                                                 is a matter that has yet to be determined. Because of its
P.3d 1160.) This disparate specification of which particular
                                                                 conclusion about the nature of missed-break premium pay,
statutes or types of actions are subject to Civil Code section
                                                                 the Court of Appeal had no occasion to address Naranjo's
3289, subdivision (b) ’s interest rate implies the Legislature
                                                                 argument that the trial court erred in finding Spectrum had
did not understand or intend all statutory wage and hour
                                                                 not acted willfully (which barred recovery under Lab. Code,
obligations to automatically be governed by the contract
                                                                 § 203); likewise, Spectrum's argument that its failure to
rate — and, in particular, that the Legislature intended a
                                                                 report missed-break premium pay on wage statements was not
difference in treatment for section 226.7 claims versus other
                                                                 knowing and intentional, as is necessary for recovery under
claims concerning the payment or nonpayment of wages in
                                                                 Labor Code section 226, was not addressed on appeal. Those
accordance with the basic employment bargain. 11 Naranjo
                                                                 issues remain to be resolved on remand.
offers no persuasive reason for us to read a common law
contract interpretation doctrine as overriding the choices the
                                                                  *18 We reverse in part the judgment of the Court of Appeal,
Legislature has made.
                                                                 insofar as it held the failure to timely pay or report section
                                                                 226.7 premium pay can never support relief under Labor Code
Naranjo also argues that principles of parity require the
                                                                 sections 203 and 226, and remand for further proceedings in
same treatment for civil claims under section 226.7 as for
                                                                 the Court of Appeal not inconsistent with this opinion.
administrative unpaid wage claims under Labor Code section
98.1. The argument for parity founders on the disparate
statutory language. As discussed, in 2000, the Legislature
amended section 98.1 to expressly provide that unpaid            We Concur:
wages recovered through administrative proceedings should
                                                                 CANTIL-SAKAUYE, C. J.
be subject to Civil Code section 3289, subdivision (b) ’s 10
percent prejudgment interest rate. (See Lab. Code, § 98.1,       CORRIGAN, J.
subd. (c).) The legislation made no similar provision for
heightened interest on missed-break claim judgments under        LIU, J.
section 226.7. We cannot supply what the Legislature chose
to omit.                                                         GROBAN, J.

                                                                 JENKINS, J.

                             VI.                                 O'LEARY, J. *

We emphasize the limits of our holdings concerning Labor         All Citations
Code sections 203 and 226. The Court of Appeal held that,
as a matter of law, section 226.7 missed-break premium pay       --- P.3d ----, 2022 WL 1613499
is not “wages” for purposes of Labor Code sections 203




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Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 19 of 21 Page ID #:678
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)




                                                       Footnotes


*      Presiding Justice of the Court of Appeal, Fourth Appellate District, Division Three, assigned by the Chief
       Justice pursuant to article VI, section 6 of the California Constitution.

1      IWC wage order No. 4-2001 regulates professional, technical, clerical, mechanical, and similar employment,
       including security guard service, and so covers the class members here.

2      Naranjo also alleged that Spectrum violated state rest break requirements. (Lab. Code, § 226.7; IWC wage
       order No. 4-2001, § 12.) The trial court denied class certification on Naranjo's rest break claims because
       of purported variations in the putative class members’ claims. The Court of Appeal reversed that decision
       and directed the trial court on remand to certify a class challenging Spectrum's alleged companywide policy
       of denying off-duty rest breaks. (Naranjo II, supra, 40 Cal.App.5th at pp. 476–481, 253 Cal.Rptr.3d 248.)
       Spectrum has not sought review of that ruling, and we do not address it.

3      Other adjacent statutes supply more specific rules for employees in particular industries. (See Lab. Code, §§
       201.3 [temporary employees], 201.5 [motion picture employees], 201.6 [photo shoot employees], 201.7 [oil
       drilling employees], 201.8 [pro baseball venue employees], 201.9 [concert event employees].)

4      By law, remaining on duty for the benefit of one's employer is compensable work. (See IWC wage order No.
       4-2001, § 11(A) [if an employee is required to remain on duty, “the meal period shall be considered an ‘on
       duty’ meal period and counted as time worked”]; Augustus v. ABM Security Services, Inc. (2016) 2 Cal.5th
       257, 265–266, 211 Cal.Rptr.3d 634, 385 P.3d 823 [if an employer “require[s] employees to remain on duty
       during breaks,” that time “plainly require[s] payment of wages”].)

5      To see Kirby’s point, recall that premium pay is but one available remedy for a violation of section 226.7.
       Then consider a situation in which an employer routinely denies meal breaks but (unlike Spectrum) pays its
       employees the premium pay due under section 226.7. An aggrieved employee might seek an injunction to
       stop the underlying unlawful practice. No wages are at stake; the action is simply one to ensure that, going
       forward, employees receive the breaks to which they are lawfully entitled. Such a claim certainly would not
       be an “action for the nonpayment of wages.” The holding of Kirby reflects a conclusion that a case in which
       premium pay is withheld and sought as a remedy should be treated no differently: “whether or not [premium
       pay] has been paid is irrelevant to whether section 226.7 was violated ... and an employer's provision of an
       additional hour of pay does not excuse a section 226.7 violation.” (Kirby, supra, 53 Cal.4th at p. 1256, 140
       Cal.Rptr.3d 173, 274 P.3d 1160.)

6      The Court of Appeal made a different point about the Legislature's failure to amend the Labor Code to
       expressly account for section 226.7: It observed that the Legislature had not amended Labor Code section
       200 to include missed-break premium pay in the definition of wages in the wake of Murphy. (Naranjo II, supra,
       40 Cal.App.5th at p. 473, 253 Cal.Rptr.3d 248.) But no amendment was needed; as Murphy itself explained,
       missed-break premium pay already fit comfortably within the existing definition of wages. (Murphy, supra, 40
       Cal.4th at pp. 1103–1104, 56 Cal.Rptr.3d 880, 155 P.3d 284.)

7      Drawing on an example posed in Jones v. Spherion Staffing LLC, supra, 2012 WL 3264081, at page *––––,
       2012 U.S.Dist. LEXIS 112396, at page *9, Spectrum describes a scenario in which denial of a single meal
       period could lead to liability for premium pay under section 226.7, plus waiting time penalties under Labor
       Code section 203, plus actual damages or statutory penalties under Labor Code section 226, plus a civil
       penalty under the Labor Code's Private Attorneys General Act of 2004 (Lab. Code, § 2698 et seq.). But in this
       hypothetical scenario, an employer could chop off liability at the root by simply paying an hour of premium
       pay in the next pay cycle and recording such pay in the wage statement. All the additional remedies arise only
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Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 20 of 21 Page ID #:679
Naranjo v. Spectrum Security Services, Inc., --- P.3d ---- (2022)


       if an employer doubles down by not doing so, and then by “willfully” (Lab. Code, § 203, subd. (a)) refusing
       to pay even after termination.

8      Subdivision (a) requires employers to provide employees at regular intervals “an accurate itemized statement
       in writing showing (1) gross wages earned, (2) total hours worked by the employee, except as provided in
       subdivision (j), (3) the number of piece-rate units earned and any applicable piece rate if the employee is paid
       on a piece-rate basis, (4) all deductions, provided that all deductions made on written orders of the employee
       may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates of the period for
       which the employee is paid, (7) the name of the employee and only the last four digits of his or her social
       security number or an employee identification number other than a social security number, (8) the name and
       address of the legal entity that is the employer and, if the employer is a farm labor contractor, as defined in
       subdivision (b) of Section 1682, the name and address of the legal entity that secured the services of the
       employer, and (9) all applicable hourly rates in effect during the pay period and the corresponding number of
       hours worked at each hourly rate by the employee and, beginning July 1, 2013, if the employer is a temporary
       services employer as defined in Section 201.3, the rate of pay and the total hours worked for each temporary
       services assignment.” (Lab. Code, § 226, subd. (a).)

9      The requirement that both “gross wages earned” and “net wages earned” be listed was added to section 226
       in 1976. (Stats. 1976, ch. 832, § 1, pp. 1899–1900.) The Assembly Committee on Labor Relations described
       the purpose of the added detail as “insur[ing] that employees are adequately informed of compensation
       received and are not shortchanged by their employers.” (Assem. Com. on Lab. Rel., analysis of Assem. Bill
       No. 3731 (1975–1976 Reg. Sess.) as amended May 12, 1976, p. 1; accord, Assem. 3d reading analysis of
       Assem. Bill No. 3731 (1975–1976 Reg. Sess.) as amended May 21, 1976, p. 1.)

10     Permitting employers to conceal underpayments — including owed but unpaid missed-break premium pay
       — would also impede employees’ ability to verify they have been paid properly and, as amicus curiae the
       Division of Labor Standards Enforcement observes, would undermine administrative enforcement of wage
       and hour protections.

11     Aside from the express statutory scheme, the legislative history makes clear that the Legislature understood
       different wage claims might be subject to different interest regimes. Commenting on changes wrought by
       the amendment of Labor Code section 218.5 and the enactment of Labor Code section 218.6, the Senate
       Industrial Relations Committee observed that “[t]his bill would clarify two overlapping sections of the law,
       specifying that an employee, separate from other wage cases, is eligible to be awarded interest, in addition
       to wages due and attorney's fees and costs.” (Sen. Com. on Industrial Relations, Analysis of Assem. Bill No.
       2509 (1999–2000 Reg. Sess.) as amended June 26, 2000, p. 3, italics added.) In short, the Legislature did
       not understand the new section 218.6, and its 10 percent interest rate, to apply to all wage claims, but only
       to a subset — a subset that, as our discussion in Kirby, supra, 53 Cal.4th at page 1255, 140 Cal.Rptr.3d 173,
       274 P.3d 1160 makes clear, does not include missed-break premium pay claims.



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     Case 5:21-cv-00287-JWH-KK Document 30 Filed 05/24/22 Page 21 of 21 Page ID #:680



 1                                   PROOF OF SERVICE
 2     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3           I, the undersigned, am over the age of 18 years and not a party to this action.
       My business address is 1635 Pontius Avenue, Second Floor, Los Angeles, CA
 4     90025-3361, which is located in Los Angeles County, where the service herein
       occurred.
 5
            On the date of execution hereof, I caused to be served the following attached
 6     document/s:
 7          PLAINTIFF’S NOTICE OF NEW AUTHORITY IN SUPPORT OF
       HIS OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THIRD
 8     AMENDED COMPLAINT
 9           on the interested parties in this action, addressed as follows:
10      Attorneys for Defendant:                 Attorney for Plaintiff Tai Hang:
11      Matthew C. Kane, Esq.                    Raphael A. Katri, Esq.
        Amy E. Beverlin, Esq.                    LAW OFFICES OF
12      Kerri H. Sakaue, Esq.                    RAPHAEL A. KATRI
        MCGUIRE WOODS LLPth                      8549 Wilshire Boulevard, Suite 200
13      1800 Century Park East, 8 Floor          Beverly Hills, CA 90211-3104
        Los Angeles, CA 90067                    Tel.: (310) 940-2034
14      Tel.: (310) 315-8200                     Fax: (310) 733-5644
        Fax: (310) 315-8210                      Email: RKatri@socallaborlawyers.com
15      Email: MKane@mcguirewoods.com
                                                 Attorney for Plaintiff Robert Canales:
16
                                                 Joseph Tojarieh, Esq.
17                                               STONEBROOK LAW
                                                 10250 Constellation Boulevard, Suite 100
18                                               Los Angeles, CA 90067
                                                 Tel: (310) 553-5533
19                                               Fax: (310) 553-5536
                                                 Email: JFT@stonebrooklaw.com
20
             using the following service method:
21
          X VIA ELECTRONIC SERVICE: The above documents were
22     electronically filed with the Clerk of the Court using the CM/ECF system, which
       sent notification of such filing to the above interested parties.
23
       I DECLARE under penalty of perjury that the foregoing is true and correct.
24
       Executed on May 24, 2022, at Los Angeles, California.
25
                                                     /s/ Cindy Rivas
26                                                   Cindy Rivas
27

28

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                                       PROOF OF SERVICE
